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                                                                UNITED STATES DISTRICT COURT
                                                               CENTRAL DISTRICT OF CALIFORNIA
                                                                  CRIMINAL MINUTES - ARRAIGNMENT

Case Number: 2:08-CR-00458-GAF                                          Recorder: CS 04/28/2008                                  Date: 04/28/2008

Present: The Honorable Stephen J. Hillman, U.S. Magistrate Judge

Court Clerk: Terry R. Baker                                                              Assistant U.S. Attorney: Priya Sopori

United States of America v.                                 Attorney Present for Defendant(s)                   Language                 Interpreter
1) EVELYN PELAYO             1) PHILIP P. DELUCA                                                                2) TAGALOG               2) JOSHUA
       CUSTODY-PRESENT             RETAINED                                                                                              MENDOZA
2) RODOLFO EBROLE DEMAFELIZ, 2) GREGORY NICOLAYSEN, Special
JR., aka Duden               appearance by ELLEN BARRY
       CUSTODY-PRESENT             PANEL


PROCEEDINGS: ARRAIGNMENT OF DEFENDANT(S) AND ASSIGNMENT OF CASE.

Defendant is arraigned and states true name is as charged.

Defendant is given a copy of the Indictment.

Defendant acknowledges receipt of a copy and waives reading thereof.

This case was previously assigned to the calendar of District Judge Gary A. Feess.
It is ordered that the following date(s) and time(s) are set:
         Trial Setting Conference this date 04/28/2008 at 1:30 P.M.
         Defendant and counsel are ordered to appear before said judge at the time and date indicated.




                                                                                                                                                             00 : 04
                                                                                                                                      Initials of Deputy Clerk: TRB
cc: Statistics Clerk, PSALA CJA Supv Attorney, Interpreter, USMLA




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